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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Newport News Division


  DEBORAH J. LAUGHLIN, Individually and as
  Executor of the Estate of PATRICK A.
  LAUGHLIN, deceased and JOYCE D.
  BLAYLOCK, as Substitute Ancillary
  Administrator of the Estate of PATRICK A.
  LAUGHLIN, deceased

          Plaintiffs,
                                                            Case No. 4:18-cv-132-RAJ - LRL
  v.

  JOHN CRANE, INC., et al.,

          Defendant.


                        PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
                                 MOTION TO CONTINUE

         COME NOW, Plaintiffs, by counsel and move this Court to continue the trial of this case

 from its current setting of November 1, 2021, to a date to be determined by this Court. In support

 of their motion, Plaintiffs state as follows:

         1.      This case is currently set for trial on November 1, 2022. (ECF 434).

         2.      Another case pending in this Court, Mullinex v. John Crane, Inc., 4:18-cv-00033

 RAJ-DEM, was previously set for a jury trial commencing on May 24, 2022. However, the

 Mullinex case was continued indefinitely on the day of trial following this Court’s decision

 granting Defendant, John Crane, Inc.’s (“JCI’s”) Motion to Dismiss Plaintiff’s Claim for Survival

 Damages. (See Ex. 1, Court’s Order Granting JCI’s Motion to Dismiss in Mullinex (May 23,

 2022)). After granting JCI’s motion to dismiss in Mullinex, this Court also issued an Order granting

 JCI leave to file a motion for summary judgment and granting the plaintiff in Mullinex leave to
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 file a motion for leave to file an amended complaint. (Ex. 2, Court’s Amended Order in Mullinex

 (May 25, 2022)).

        3.      The parties in Mullinex have completed the briefing on these motions, and the Court

 has issued orders on both motions, denying JCI’s motion for summary judgment and denying the

 plaintiff’s motion for leave to file an amended complaint. (Ex. 3, Court’s Order Denying JCI’s

 Supplemental Motion for Summary Judgment in Mullinex (Aug. 15, 2022); Ex. 4, Court’s Order

 Denying Plaintiff’s Motion for Leave to File a Fourth Amended Complaint in Mullinex (Aug. 22,

 2022)). Accordingly, the Mullinex case is ready to move forward, but a date has not yet been set.

        4.      This case is a general maritime product liability case involving asbestos exposure

 and mesothelioma, which, for all intents and purposes, is factually similar to the Mullinex case.

 JCI is the sole remaining defendant in both this case and the Mullinex case, and counsel for both

 parties is the same in both cases. The only major factual difference is that Mr. Laughlin was

 exposed to asbestos as a result of his Navy service as a machinist mate aboard one ship from 1970

 until 1973, whereas Mr. Mullinex was exposed to asbestos as a result of his Navy service aboard

 multiple ships from 1969 until 1973 and again from 1977 until 1978.

        5.      However, the Mullinex case is much further along in terms of case development,

 motions practice, and other pretrial matters. Further, the Mullinex case has also been pending two

 years longer than this case. Accordingly, continuing this case and replacing it with the Mullinex

 case for the November 1, 2022, trial date will preserve judicial time and resources, as well as the

 time and resources of the parties. Further, JCI will not be prejudiced by replacing this case with

 the Mullinex case because JCI is a Defendant in both cases, so it will have to try both cases at some

 point. Indeed, because the Mullinex case is further along, trying Mullinex rather than this case




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 beginning November 1, 2022, is not prejudicial to either party, as it will allow both parties and this

 Court to try a case which has been awaiting trial for almost six years.

        Respectfully Submitted,

        By: /s/ Hugh B. McCormick, III, Esq.
                Of Counsel

     Robert R. Hatten, Esq. (VSB # 12854)                Nathan D. Finch, Esq. (VSB #34290)
     Hugh B. McCormick, III, Esq. (VSB # 37513)          MOTLEY RICE LLP
     Daniel R. O. Long, Esq. (VSB # 95873)               401 9th Street, NW, Suite 630
     PATTEN, WORNOM, HATTEN &                            Washington DC, 20004
     DIAMONSTEIN, L.C.                                   Phone: (202) 232-5504
     12350 Jefferson Avenue - Suite 300                  Fax: (202) 232-5513
     Newport News, VA 23602                              Email: nfinch@motleyrice.com
     (757) 223-4500 Telephone                            Counsel for Plaintiff
     (757) 249-3242 Facsimile
     pleadings@pwhd.com
     hughmccormick@pwhd.com
     Counsel for Plaintiff




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 25th day of August, 2022 a true and accurate copy of the

 foregoing was filed electronically with the United States District Court for the Eastern District of

 Virginia using the CM/ECF system, which automatically sends all necessary notifications of this

 filing to the following:

 Eric G. Reeves, Esq.
 Laura May Hooe, Esq.
 Mary Lou Roberts, Esq.
 Lisa Moran McMurdo, Esq.
 MORAN, REEVES & CONN, P.C.
 1211 East Cary Street
 Richmond, VA 23219
 Counsel for John Crane, Inc.

 Brian James Schneider, Esq.
 SPOTTS FAIN, PC
 411 E. Franklin St., Suite 600
 Richmond, VA 23219
 Counsel for John Crane, Inc.

 Christopher O. Massenburg, Esq. (admitted pro hac vice)
 MANNING GROSS & MASSENBURG, LLP
 365 Canal Street, Suite 3000
 New Orleans, LA 70130
 Counsel for John Crane, Inc.

                                                      By:     /s/ Hugh B. McCormick, III, Esq.
                                                              Attorney for Plaintiff




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